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                         IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF KANSAS

 UNITED STATES OF AMERICA, ex rel.
 THOMAS SCHROEDER,

                                 Plaintiff,

 vs.                                                    Civil Action No. 2:17-02060-DCC-KGG

 MEDTRONIC, INC., et al.,

                                 Defendants.

               DEFENDANT WICHITA RADIOLOGICAL GROUP, P.A.’s
           RESPONSE IN OPPOSITION TO RELATOR’S MOTION TO AMEND
       REVISED SCHEDULING ORDER FOR EXTENSION OF EXPERT DEADLINES

         COMES NOW, Defendant Wichita Radiological Group, P.A. (“WRG”), by and through

its counsel of record, Eric W. Barth and Krystle M. Dalke of Hinkle Law Firm LLC, and for its

Response in Opposition to Relator’s Motion & Supporting Memorandum to Amend the Revised

Scheduling Order for Extension of Expert Deadlines (Doc. 325) states as follows:

I.       BACKGROUND

         Relator Thomas Schroeder initiated this qui tam action over six years ago. Since that time

and with the unfair advantage of substantial discovery, Relator has added two additional

defendants and morphed his claims into something far different than originally plead. Judge

Crabtree previously dismissed Relator’s medical necessity claims prior to the addition of WRG as

a defendant, but allowed Relator the opportunity to amend in order to state with particularity the

basis for his fraud claims. Over the course of this case, however, Relator cherry-picked certain

discovery in an attempt to plead his allegations of fraud with particularity, but failed to omit certain

allegations that are contrary to the evidence identified through discovery. Yet, despite multiple

opportunities to amend and satisfy the necessary pleading requirements, the Fifth Amended
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Complaint still fails to state a claim under the False Claims Act against WRG under Fed. R. Civ.

P. 12(b)(6) and 9(b). Currently pending before the Court is WRG’s Motion to Dismiss Relator’s

Fifth Amended Complaint.

       As discovery is ongoing while Defendants’ various motions to dismiss are pending, Relator

has attempted to bolster his baseless claims of medical necessity against Defendants. In an effort

to gain access to patient records that the U.S. Department of Veterans Affairs has refused to turn

over, Relator filed a separate Administrative Procedures Act case against the VA. See Thomas

Schroeder, et al. v. The United States Department of Veterans Affairs, Case No. 2:22-cv-2209-

DDC-KGG (the “APA litigation”). The District Court has not yet ruled on the various issues in

the APA litigation, including whether the VA will be forced to provide patient records and the

scope of any such production.

       Relator now seeks to amend the Revised Scheduling Order (Doc. 234) to extend the expert

deadlines while he awaits Judge Crabtree’s decision in the APA litigation. WRG opposes

Relator’s instant motion, as this is just one more stall tactic Relator hopes to benefit from to

overcome his deficient pleadings.

II.    ARGUMENT AND AUTHORITIES

       A. Standard for Amending Scheduling Orders

       “The deadlines set by the Court in its Scheduling Orders are not merely aspirational.” Tran

v. County of Douglas, No. 21-2310-KHV-KGG, 2022 WL 1102653, at *3 (April 13, 2022)

(quoting Little v. Budd Co., Inc., No. 16-4170-DDC-KGG, 2018 LW 276773, at *1 (D. Kan. Jan.

3, 2018)). “Rather, the orderly, timely and efficient management of litigation by the Court and

counsel is important to the administration of justice.” Id. (citing Fed. R. Civ. P. 1). Numerous

courts have held that a “Scheduling Order is not a frivolous piece of paper, idly entered, which can


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be cavalierly disregarded by counsel without peril.” Lehman Brothers Holdings Inc. v. Universal

American Mortgage Company, LLC, No. 13-cv-00089-WJM-KLM, 300 F.R.D. 678, 681 (D. Colo.

May 7, 2014) (citations omitted). Tardy substantive changes to the Scheduling Order can be unfair,

and can cause substantial delay and expense. Tran, 2022 WL 1102653, at *3 (citing Little, 2018

LW 276773, at *1). Under Fed. R. Civ. P. 16(b)(4), “[a] schedule may be modified only for good

cause and with the judge’s consent.”

       B. Relator’s Motion to Amend Should be Denied

       Despite wanting to continue fact discovery in an attempt to gain evidence to support his

otherwise deficiently plead claims, Relator now essentially seeks a stay of expert discovery until

Judge Crabtree makes a ruling with respect to his Touhy requests in the APA litigation filed against

the VA. The Court was well aware of the pending APA litigation when it amended the scheduling

order previously. Relator did not seek the type of amendment he does now, essentially putting

most of the expert deadlines on hold until the APA litigation is resolved. Fact discovery is set to

close in this matter on April 30, 2023. Additionally, the pretrial order is due to be submitted on

September 12, 2023, the Pretrial Conference is set for September 19, 2023, and dispositive motions

must be filed by October 26, 2023.

       WRG opposes Relator’s instant motion as he has had six years to seek the records he

contends he needs to establish medically unnecessary procedures performed by WRG physicians

in the Dole VA cath lab. The Court was aware of Relator’s efforts to gain VA patient records and

entered the Revised Scheduling Order with full knowledge of the pending APA litigation.

Allowing Relator to essentially stay the case at this juncture does not fulfill the purpose of the

Federal Rules, namely securing the “just, speedy, and inexpensive determination of every action

and proceeding.” Fed. R. Civ. P. 1.



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       Aside from merely stating that the resolution of the APA litigation is necessary to

determine if the medical records Relator seeks will be produced, Relator has not set forth how he

has purportedly satisfied the good cause standard of Rule 16(b). Strope v. Collins, 315 F. App’x

57, 61 (10th Cir. 2009) (quoting Moothart v. Bell, 21 F.3d 1499, 1504 (10th Cir. 1994)

(Demonstrating good cause under the rule “requires the moving party to show that it has been

diligent in attempting to meet the deadlines, which means it must provide an adequate explanation

for any delay.”); Wood v. LP Conversions Inc., No. 14-2228-CM-KGG, 2014 WL 6387543, at *1

(D. Kan. Nov. 14, 2014) (“It is well-established in this District that motions to modify a scheduling

order focus ‘on the diligence of the party seeking to modify the scheduling order.’”)). Relator fails

to explain why he did not seek these records sooner from the VA and has not presented evidence

as to his due diligence efforts. The fact that Relator’s experts cannot render an opinion without

the information is not a sufficient showing of diligence on the Relator’s part. Relator has not

shown good cause under Fed. R. Civ. P. 16(b)(4) and his motion should be denied.

       C. If Relator’s Motion is Granted, Other Amendments to the Scheduling Order Will
          be Necessary

       Should the Court grant Relator’s motion, WRG requests the Court similarly extend

Defendants’ expert disclosure deadlines as well as the remaining pretrial deadlines contained in

the Revised Scheduling Order.        Under the Revised Scheduling Order, Defendants’ expert

disclosure deadlines are 60 days from the date Relator’s disclosures are due. If the Court grants

Relator relief in the APA litigation and is allowed additional time to disclose expert reports in this

case, Defendants will need at least 60 days, if not more, after Relator’s expert deadline to make

their expert disclosures.

       Relator’s motion also ignores how the requested relief impacts the remaining deadlines in

the Revised Scheduling Order. The Pretrial Conference is scheduled for September 19, 2023, and

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dispositive motions are due October 26, 2023. If the Court stays the expert discovery deadlines,

then these dates will have to be extended or stayed as well. If not, Defendants will be prejudiced

in conducting expert discovery, preparing the pretrial order, and filing dispositive motions.

III.    CONCLUSION

        For the foregoing reasons, Defendant Wichita Radiological Group, P.A. respectfully

requests the Court deny Relator’s Motion & Supporting Memorandum to Amend Revised

Scheduling Order for Extension of Expert Deadlines.

                                                Respectfully submitted,


                                                HINKLE LAW FIRM LLC

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                                  CERTIFICATE OF SERVICE

         I hereby certify that on this 28th day of April, 2023, I electronically filed the foregoing with
the Clerk of the Court by using the CM/ECF system which will send a notice of electronic filing
to all attorneys of record.



                                                /s/ Eric W. Barth
                                                Eric W. Barth




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